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 4   Email: salsciandra@sbcglobal.net
 5   Attorney for Defendant, CARLOS GERARDO BLANCO
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 7
                       IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                        CASE NO: 1:15-cr-00352 LJO
10
                   Plaintiff,
11
     v.
12                                                    STIPULATION TO CONTINUE
                                                      SENTENCING AND ORDER
13
                                                      [Proposed] Date: October 30, 2017
14   CARLOS GERARDO BLANCO,                           Time: 8:30 AM
               Defendant.                             Courtroom: LAWRENCE J. O’NEILL
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            The parties hereto, by and through their respective attorneys, stipulate that the sentencing
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19   hearing in this action be continued from October 16, 2017 to October 30, 2017 at the hour of

20   8:30 am before the Honorable Lawrence J. O’Neill. The defendant’s Informal Objections to be

21   due on or before October 2, 2017. Formal Objections to be filed with the court on or before
22
     October 16, 2017. This stipulation is needed because the defendant’s counsel for Mr. Blanco has
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     been on vacation since September 5, 2017 and will not return to Fresno until September 16. Mr.
24
     Blanco’s informal objections are currently due on or before September 18, 2017. The current
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     schedule will not give counsel enough time to meet with Mr. Blanco to go over the PSR with
26

27   him and to prepare informal and formal objections.

28   ///

     STIPULATION TO CONTINUE SENTENCING
           Case 1:15-cr-00352-JLT-SKO Document 169 Filed 09/15/17 Page 2 of 2

     Dated: September 15, 2017                            /s/ Salvatore Sciandra
 1                                                        Attorney for Defendant
                                                          CARLOS GERARDO BLANCO
 2

 3   Dated: September 15, 2017                            Phillip Talbert
                                                          Acting United States Attorney
 4                                                        By: /s/ Brian Delaney
                                                          Approved by Email on September 13, 2017
 5

 6

 7                                         ORDER
 8          The court has reviewed and considered the stipulation of the parties and good cause
 9
     appearing, IT IS ORDERED that the sentencing hearing in this matter be set on October 30, 2017 at
10
     8:30 AM. The defendant’s Informal Objections to be due on or before October 2, 2017. Formal
11
     Objections to be filed with the Court on or before October 16, 2017
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13   IT IS SO ORDERED.
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        Dated:     September 15, 2017                      /s/ Lawrence J. O’Neill _____
15                                                UNITED STATES CHIEF DISTRICT JUDGE
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     STIPULATION TO CONTINUE SENTENCING
